                                                                             APPEAL,ATTYOPEN,RF
                           United States District Court
                    Eastern District of Wisconsin (Milwaukee)
                 CIVIL DOCKET FOR CASE #: 2:20−cv−01771−PP

Feehan et al v. Wisconsin Elections Commission et al         Date Filed: 12/01/2020
Assigned to: Chief Judge Pamela Pepper                       Jury Demand: None
Cause: 42:1983 Civil Rights Act                              Nature of Suit: 441 Civil Rights: Voting
                                                             Jurisdiction: Federal Question

Plaintiff
William Feehan                                  represented by Daniel J Eastman
                                                               Eastman Law
                                                               PO Box 158
                                                               Mequon, WI 53092
                                                               414−881−9383
                                                               Email: daneastman@me.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

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                                                             Brookfield, WI 53008
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                                                             Brandon Johnson
                                                             Sidney Powell PC
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                                                             Dallas, TX 75219
                                                             ATTORNEY TO BE NOTICED

                                                             Emily P Newman
                                                             Sidney Powell PC
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                                                             Dallas, TX 75219
                                                             ATTORNEY TO BE NOTICED

                                                             Howard Kleinhendler
                                                             Howard Kleinhendler Esq
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                                                             New York, NY 10017
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                                                 Email: howard@kleinhendler.com
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                                                 Sidney Powell PC
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                                                 L Lin Wood
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                                                 Sidney Powell
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Plaintiff
Derrick Van Orden                    represented by Michael D Dean
TERMINATED: 12/03/2020                              (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Brandon Johnson
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel J Eastman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Emily P Newman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z Haller
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        Case 2:20-cv-01771-PP Filed 12/10/20 Page 2 of 66 Document 86
                                                   ATTORNEY TO BE NOTICED

                                                   Sidney Powell
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Wisconsin Elections Commission      represented by Colin T Roth
                                                   Wisconsin Department of Justice
                                                   Office of the Attorney General
                                                   17 W Main St
                                                   PO Box 7857
                                                   Madison, WI 53707−7857
                                                   608−266−0020
                                                   Fax: 608−267−2223
                                                   Email: rothct@doj.state.wi.us
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                                                   Jody J Schmelzer
                                                   Wisconsin Department of Justice
                                                   Office of the Attorney General
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                                                   Madison, WI 53707−7857
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                                                   Email: murphysm@doj.state.wi.us
                                                   ATTORNEY TO BE NOTICED

Defendant
Commissioner Ann S Jacobs           represented by Colin T Roth
                                                   (See above for address)
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                                                   Jody J Schmelzer
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

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                                                Sean Michael Murphy
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Mark L Thomsen                      represented by Colin T Roth
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                                                   ATTORNEY TO BE NOTICED

                                                Jody J Schmelzer
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Sean Michael Murphy
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Commissioner Marge Bostelmann       represented by Colin T Roth
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jody J Schmelzer
                                                (See above for address)
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                                                Sean Michael Murphy
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Defendant
Julie M Glancey                     represented by Colin T Roth
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                                                Jody J Schmelzer
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Defendant
Commissioner Dean Knudson           represented by Colin T Roth
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                                                Jody J Schmelzer
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       Case 2:20-cv-01771-PP Filed 12/10/20 Page 4 of 66 Document 86
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                                                 Sean Michael Murphy
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Defendant
Robert F Spindell, Jr               represented by Colin T Roth
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                                                 Jody J Schmelzer
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Sean Michael Murphy
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Defendant
Tony Evers                          represented by Davida Brook
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       Case 2:20-cv-01771-PP Filed 12/10/20 Page 5 of 66 Document 86
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Amicus
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         Case 2:20-cv-01771-PP Filed 12/10/20 Page 6 of 66 Document 86
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Case 2:20-cv-01771-PP Filed 12/10/20 Page 7 of 66 Document 86
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                                                  Joseph S Goode
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                                                  Mark M Leitner
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Amicus
Wendell J. Harris, Sr.                represented by Allison E Laffey
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                                                  Jon Greenbaum
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                                                  Joseph S Goode
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                                                  Mark M Leitner
         Case 2:20-cv-01771-PP Filed 12/10/20 Page 8 of 66 Document 86
                                                    (See above for address)
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Amicus
Earnestine Moss                       represented by Allison E Laffey
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                                                    Mark M Leitner
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V.
Intervenor
Democratic National Committee         represented by Sopen B Shah
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         Case 2:20-cv-01771-PP Filed 12/10/20 Page 9 of 66 Document 86
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Case 2:20-cv-01771-PP Filed 12/10/20 Page 10 of 66 Document 86
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V.
Movant
James Gesbeck                                  represented by James Gesbeck
                                                              9302 Harvest Moon Lane
                                                              Verona, WI 53593
                                                              PRO SE


Date Filed      #   Page Docket Text
12/01/2020      1        COMPLAINT against All Plaintiffs by William Feehan. ( Filing Fee PAID
                         $400 receipt number AWIEDC−3652059) (Attachments: # 1 Exhibit, # 2
                         Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                         Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14
                         Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, #
                         20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit,
                         # 26 Exhibit, # 27 Exhibit)(Dean, Michael) (Additional attachment(s) added on
                         12/1/2020: # 28 Civil Cover Sheet) (jcl).
12/01/2020      2        MOTION for Temporary Restraining Order by All Plaintiffs. (Dean, Michael)
12/01/2020      3        BRIEF in Support filed by All Plaintiffs re 2 MOTION for Temporary
                         Restraining Order . (Dean, Michael)
12/01/2020               NOTICE Regarding assignment of this matter to Chief Judge Pamela Pepper;
                         Consent/refusal forms for Magistrate Judge Joseph to be filed within 21 days;
                         the consent/refusal form is available here. Pursuant to Civil Local Rule 7.1 a
                         disclosure statement is to be filed upon the first filing of any paper and should
                         be filed now if not already filed. (jcl)
12/01/2020      4        Magistrate Judge Jurisdiction Form filed by All Plaintiffs. (NOTICE: Pursuant
                         to Fed.R.Civ.P. 73 this document is not viewable by the judge.) (Dean,
                         Michael)
12/01/2020      5        DISCLOSURE Statement by All Plaintiffs. (Dean, Michael)
12/01/2020      6        MOTION to Amend/Correct Docket # 2: PLAINTIFFS MOTION FOR
                         DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                         RELIEF by All Plaintiffs. (Attachments: # 1 Text of Proposed Order)(Dean,
                         Michael)
12/02/2020      7        ORDER signed by Chief Judge Pamela Pepper on 12/2/2020 re 6 Amended
                         Motion for Injunctive Relief. (cc: all counsel)(cb)
12/02/2020      8        NOTICE of Appearance by Sidney Powell on behalf of All Plaintiffs.
                         Attorney(s) appearing: Sidney Powell (Powell, Sidney)
12/03/2020      9        AMENDED COMPLAINT removing Derrick Van Orden as Plaintiff against
                         All Defendants filed by William Feehan. (Attachments: # 1 Exhibit, # 2 Exhibit,
                         # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9
                         Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, #
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                   15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit)(Dean,
                   Michael)
12/03/2020   10    Emergency MOTION to Amend/Correct Docket # 6: PLAINTIFFS
                   CORRECTED MOTION FOR DECLARATORY, EMERGENCY, AND
                   PERMANENT INJUNCTIVE RELIEF by William Feehan. (Attachments: # 1
                   Information Sheet Proposed Briefing Schedule)(Dean, Michael)
12/03/2020   11    NOTICE of Appearance by Jeffrey A Mandell on behalf of Tony Evers.
                   Attorney(s) appearing: Jeffrey A. Mandell (Mandell, Jeffrey)
12/03/2020   12    NOTICE of Appearance by Rachel E Snyder on behalf of Tony Evers.
                   Attorney(s) appearing: Rachel E. Snyder (Snyder, Rachel)
12/03/2020   13    NOTICE of Appearance by Howard Kleinhendler on behalf of William Feehan.
                   Attorney(s) appearing: Howard Kleinhendler (Kleinhendler, Howard)
12/03/2020   14    MOTION to Intervene by James Gesbeck. (Attachments: # 1 Proposed Answer,
                   # 2 Certificate of Service)(asc)
12/03/2020   15    BRIEF in Support filed by James Gesbeck re 14 MOTION to Intervene. (asc)
12/03/2020   16    MOTION Reassign Case Pursuant to Civil L.R. 3(b) by Tony Evers.
                   (Attachments: # 1 Exhibit 1 − Notice from Case 20−CV−1785)(Mandell,
                   Jeffrey)
12/03/2020   17    NOTICE of Appearance by Sean Michael Murphy on behalf of Marge
                   Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                   Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission. Attorney(s)
                   appearing: Sean Michael Murphy, Jody J. Schmelzer, Colin T. Roth (Murphy,
                   Sean)
12/03/2020   18    RESPONSE to Motion filed by William Feehan re 16 MOTION Reassign Case
                   Pursuant to Civil L.R. 3(b) . (Dean, Michael)
12/03/2020   19    ORDER signed by Chief Judge Pamela Pepper on 12/3/2020 DENYING 16
                   defendant Tony Evers's motion to reassign case pursuant to Civil L.R. 3(b). (cc:
                   all counsel)(cb)
12/03/2020   20    NOTICE of Appearance by Charles G Curtis, Jr on behalf of Democratic
                   National Committee. Attorney(s) appearing: Charles G. Curtis (Curtis, Charles)
12/03/2020   21    NOTICE of Appearance by Michelle M Umberger on behalf of Democratic
                   National Committee. Attorney(s) appearing: Michelle M. Umberger (Umberger,
                   Michelle)
12/03/2020         Party Derrick Van Orden terminated. (amb) (Entered: 12/04/2020)
12/04/2020   22    MOTION to Intervene by Democratic National Committee. (Attachments: # 1
                   Exhibit 1−Proposed Answer, # 2 Text of Proposed Order)(Umberger, Michelle)
12/04/2020   23    BRIEF in Support filed by Democratic National Committee re 22 MOTION to
                   Intervene . (Umberger, Michelle)
12/04/2020   24    DISCLOSURE Statement by Democratic National Committee. (Umberger,
                   Michelle)
12/04/2020   25
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                   REPLY filed by Tony Evers to Plaintiff's Proposed Briefing Schedule.
                   (Mandell, Jeffrey)
12/04/2020   26    REPLY filed by Marge Bostelmann, Julie M Glancey, Ann S Jacobs, Dean
                   Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                   Commission to Plaintiff's Proposed Briefing Schedule. (Murphy, Sean)
12/04/2020   27    NOTICE of Appearance by Justin A Nelson on behalf of Tony Evers.
                   Attorney(s) appearing: Justin A. Nelson (Nelson, Justin)
12/04/2020   28    NOTICE of Appearance by Davida Brook on behalf of Tony Evers. Attorney(s)
                   appearing: Davida Brook (Brook, Davida)
12/04/2020   29    ORDER signed by Chief Judge Pamela Pepper on 12/4/2020. 10 Plaintiff's
                   amended motion GRANTED IN PART to extent that it is Civil L.R. 7(h)
                   expedited non−dispositive motion for expedited briefing schedule; defendant's
                   opposition to plaintiff's amended motion due by 5:00 PM on 12/7/2020,
                   plaintiff's reply due by 5:00 PM on 12/8/2020. The court DEFERS RULING on
                   plaintiff's amended motion to extent that it asks the court to issue TRO or
                   preliminary injunction. (cc: all counsel)(cb)
12/04/2020   30    NOTICE of Appearance by Stephen Shackelford, Jr on behalf of Tony Evers.
                   Attorney(s) appearing: Stephen L. Shackelford, Jr. (Shackelford, Stephen)
12/04/2020   31    NOTICE of Appearance by Richard Manthe on behalf of Tony Evers.
                   Attorney(s) appearing: Richard A. Manthe (Manthe, Richard)
12/04/2020   32    NOTICE of Appearance by Paul M Smith on behalf of Tony Evers. Attorney(s)
                   appearing: Paul M. Smith (Smith, Paul)
12/04/2020   33    7(h) Expedited NON−DISPOSITIVE MOTION to Intervene by James
                   Gesbeck. (Attachments: # 1 Certificate of Service)(lz)
12/04/2020   34    MOTION for Leave to File Excess Pages by Tony Evers. (Mandell, Jeffrey)
12/04/2020   35    NOTICE of Appearance by Sidney Powell on behalf of All Plaintiffs.
                   Attorney(s) appearing: Sidney Powell (Powell, Sidney)
12/04/2020   36    TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/4/2020 re
                   34 MOTION for Leave to File Excess Pages filed by Tony Evers: The
                   defendant seeks leave to file a brief in excess of the thirty pages allowed by
                   Civil L.R. 7(f) because he proposes to both oppose the plaintiff's amended
                   motion for injunctive relief and support his own, not yet filed motion to dismiss
                   in the same pleading. The court appreciates any party's effort to streamline
                   litigation, but would prefer that the defendant file separate briefs opposing the
                   plaintiff's amended motion and supporting his own. This will avoid confusion
                   when the plaintiff responds. The court DENIES the defendant's motion for
                   leave to file excess pages. NOTE: There is no document associated with this
                   text−only order. (cc: all counsel)(Pepper, Pamela)
12/04/2020   37    ORDER signed by Chief Judge Pamela Pepper on 12/4/2020 allowing James
                   Gesbeck to file amicus curiae brief by 5:00 PM on 12/7/2020. (cc: all counsel,
                   via mail to James Gesbeck)(cb)
12/05/2020   38    TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/5/2020 re
                   22 MOTION to Intervene filed by Democratic National Committee signed by

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                   Chief Judge Pamela Pepper on 12/5/2020: Under Civil L.R. 7(b), the plaintiff's
                   response is due by December 25, 2020; because December 25 is a federal
                   holiday, the court ORDERS that the plaintiff's response is due by December
                   28, 2020. NOTE: There is no document associated with this text−only
                   order. (cc: all counsel)(Pepper, Pamela)
12/05/2020   39    TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/05/2020 re
                   33 MOTION to Intervene filed by James Gesbeck: Under Civil L.R. 7(h), the
                   plaintiff's response is due by Friday, December 11, 2020. NOTE: There is no
                   document associated with this text−only order. (cc: all counsel)(Pepper,
                   Pamela)
12/05/2020   40    Expedited MOTION to Intervene by Democratic National Committee.
                   (Umberger, Michelle)
12/06/2020   41    ORDER signed by Chief Judge Pamela Pepper on 12/6/2020. 40 Movant DNC's
                   expedited motion to intervene GRANTED to extent that court has expedited its
                   ruling on original motion to intervene. 22 Movant DNC's original motion to
                   intervene DENIED. Movant DNC may file amicus curiae brief by 5:00 PM on
                   12/7/2020. (cc: all counsel)(cb)
12/06/2020   42    BRIEF in Support filed by William Feehan re 10 Emergency MOTION to
                   Amend/Correct Docket # 6: PLAINTIFFS CORRECTED MOTION FOR
                   DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                   RELIEF Amended Brief. (Dean, Michael)
12/06/2020   43    MOTION To File Separate Reply Briefs by William Feehan. (Dean, Michael)
12/06/2020   44    MOTION To Hold Consolidated Evidentiary Hearing/Trial by William Feehan.
                   (Dean, Michael)
12/07/2020   45    TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/7/2020 re
                   43 MOTION To File Separate Reply Briefs filed by William Feehan: The court
                   GRANTS the plaintiff's motion for leave to file separate reply briefs. If the
                   defendants file a single opposition brief, the plaintiff must file one reply to that
                   brief. If the defendants file separate opposition briefs, the plaintiff may file a
                   reply for each opposition brief. The plaintiff also may file a separate reply for
                   each brief filed by an amicus. (In other words, the plaintiff could file up to four
                   reply briefs if the defendants file separate briefs and each amicus files a brief.)
                   If the defendants file a separate motion to dismiss, the plaintiff may file an
                   opposition brief of up to thirty pages under Civil L.R. 7(b). NOTE: There is no
                   document associated with this text−only order. (cc: all counsel)(Pepper,
                   Pamela)
12/07/2020         NOTICE of Hearing: Status Conference set for 12/8/2020 at 11:00 AM by
                   telephone before Chief Judge Pamela Pepper. The parties are to appear by
                   calling the court's conference line at 888−557−8511 and entering access code
                   4893665#. (cc: all counsel)(cb)
12/07/2020   46    RESPONSE to Motion filed by Marge Bostelmann, Julie M Glancey, Ann S
                   Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                   Elections Commission re 44 MOTION To Hold Consolidated Evidentiary
                   Hearing/Trial . (Murphy, Sean)
12/07/2020   47

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                   AMICUS BRIEF in Opposition to 6 MOTION for Injunctive Relief filed by
                   James Gesbeck. (asc)
12/07/2020   48    NOTICE of Appearance by David S Lesser on behalf of Democratic National
                   Committee. Attorney(s) appearing: David S. Lesser (Lesser, David)
12/07/2020   49    NOTICE of Appearance by Jamie Dycus on behalf of Democratic National
                   Committee. Attorney(s) appearing: Jamie S. Dycus (Dycus, Jamie)
12/07/2020   50    NOTICE of Appearance by Stephen Morrissey on behalf of Tony Evers.
                   Attorney(s) appearing: Stephen E. Morrissey (Morrissey, Stephen)
12/07/2020   51    MOTION to Dismiss Plaintiff's Amended Complaint by Tony Evers. (Mandell,
                   Jeffrey)
12/07/2020   52    RESPONSE to Motion filed by Marge Bostelmann, Julie M Glancey, Ann S
                   Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                   Elections Commission re 2 MOTION for Temporary Restraining Order .
                   (Murphy, Sean)
12/07/2020   53    MOTION to Dismiss by Marge Bostelmann, Julie M Glancey, Ann S Jacobs,
                   Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                   Commission. (Murphy, Sean)
12/07/2020   54    BRIEF in Support filed by Marge Bostelmann, Julie M Glancey, Ann S Jacobs,
                   Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                   Commission re 53 MOTION to Dismiss . (Murphy, Sean)
12/07/2020   55    BRIEF in Opposition filed by Tony Evers re 10 Emergency MOTION to
                   Amend/Correct Docket # 6: PLAINTIFFS CORRECTED MOTION FOR
                   DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                   RELIEF . (Attachments: # 1 Exhibit 1 WVA v. WEC, # 2 Exhibit 2 Trump v.
                   Boockvar, # 3 Exhibit 3 Wood v. Raffensperger, # 4 Exhibit 4 Wood v.
                   Raffensperger (11th Cir.), # 5 Exhibit 5 King v. Whitmer TRO Decision, # 6
                   Exhibit 6 Zilisch v. R.J. Reynolds, # 7 Exhibit 7 Consolidate Water v..40 Acres,
                   # 8 Exhibit 8 Jefferson v. Dane County, # 9 Exhibit 9 Bognet v. Secretary of
                   Commonwealth, # 10 Exhibit 10 O'Bright v. Lynch Order, # 11 Exhibit 11
                   Trump v. Evers Order)(Mandell, Jeffrey)
12/07/2020   56    MOTION for Leave to File Amicus Curiae Brief by Wisconsin State
                   Conference NAACP, Dorothy Harrell, Wendell J. Harris, Sr., Earnestine Moss.
                   (Goode, Joseph)
12/07/2020   57    BRIEF in Opposition filed by Democratic National Committee re 10
                   Emergency MOTION to Amend/Correct Docket # 6: PLAINTIFFS
                   CORRECTED MOTION FOR DECLARATORY, EMERGENCY, AND
                   PERMANENT INJUNCTIVE RELIEF . (Attachments: # 1 Exhibit 1 −
                   Washington Voters Alliance Case, # 2 Exhibit 2 − Trump v. Evers Case, # 3
                   Exhibit 3 − Mueller v. Jacobs Case, # 4 Exhibit 4 − King v. Benson Case, # 5
                   Exhibit 5 − March 29, 2020 Guidance, # 6 Exhibit 6 − Jefferson v. Dane Case,
                   # 7 Exhibit 7 − October 18, 2016 Guidance, # 8 Exhibit 8 − Election Manual, #
                   9 Exhibit 9 − November 10, 2020 Guidance)(Umberger, Michelle)
12/07/2020   58    UNPUBLISHED Decision Pursuant to Civil L.R. 7(J) filed by Marge
                   Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                   Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission (Attachments:
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                   # 1 Exhibit 1− Martel v. Condos, # 2 Exhibit 2− Moore v. Circosta, # 3 Exhibit
                   3− Donald J. Trump for President v. Cegavske, # 4 Exhibit 4− Bognet v.
                   Secretary of the Commonwealth of Pennsylvania, # 5 Exhibit 5− Donald J.
                   Trump for President v. Boockvar, # 6 Exhibit 6− Donald J. Trump for President
                   v. Pennsylvania, # 7 Exhibit 7− Wood v. Raffensperger, # 8 Exhibit 8− King v.
                   Whitmer)(Murphy, Sean)
12/07/2020   59    BRIEF in Support filed by Tony Evers re 51 MOTION to Dismiss Plaintiff's
                   Amended Complaint . (Attachments: # 1 Exhibit 1 Whitake v. Kenosha, # 2
                   Exhibit 2 Bognet v. Secretary of Commenwealth, # 3 Exhibit 3 Hotze v.
                   Hollins, # 4 Exhibit 4 Wood v. Raffensperger, # 5 Exhibit 5 Wood v.
                   Raffensperger (11th Cir.), # 6 Envelope 6 Moore v. Circosta, # 7 Exhibit 7
                   Trump v. Evers, # 8 Exhibit 8 WVA v. WEC, # 9 Exhibit 9 Trump Notice of
                   Appeal, # 10 Exhibit 10Trump v. Biden Consolidation Order, # 11 Exhibit 11
                   Andino v. Middleton, # 12 Exhibit 12 Massey v. Coon, # 13 Exhibit 13 Balsam
                   v. New Jersey, # 14 Exhibit 14 Thompson v. Alabama, # 15 Exhibit 15
                   Braynard Expert Report)(Mandell, Jeffrey)
12/07/2020   60    BRIEF in Opposition filed by Tony Evers re 44 MOTION To Hold
                   Consolidated Evidentiary Hearing/Trial . (Mandell, Jeffrey)
12/08/2020   61    NOTICE of Appearance by Jon Greenbaum on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: Jon Greenbaum (Greenbaum, Jon)
12/08/2020   62    NOTICE of Appearance by Allison E Laffey on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: Allison E. Laffey (Laffey, Allison)
12/08/2020   63    NOTICE of Appearance by John W Halpin on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: John W. Halpin (Halpin, John)
12/08/2020   64    NOTICE of Appearance by Mark M Leitner on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: Mark M. Leitner (Leitner, Mark)
12/08/2020   65    NOTICE of Appearance by Joseph S Goode on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: Joseph S. Goode (Goode, Joseph)
12/08/2020   66    NOTICE of Appearance by Ezra D Rosenberg on behalf of Dorothy Harrell,
                   Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                   Attorney(s) appearing: Ezra D. Rosenberg (Rosenberg, Ezra)
12/08/2020   67    NOTICE of Appearance by Jacob Conarck on behalf of Wisconsin State
                   Conference NAACP. Attorney(s) appearing: Jacob P. Conarck (Conarck, Jacob)
12/08/2020   68    NOTICE of Appearance by Seth P Waxman on behalf of Democratic National
                   Committee. Attorney(s) appearing: Seth P. Waxman (Waxman, Seth)
12/08/2020   69    ORDER signed by Chief Judge Pamela Pepper on 12/8/2020 GRANTING 56
                   Motion for Leave to File Amicus Curiae Brief filed by Earnestine Moss,
                   Dorothy Harrell, Wisconsin State Conference NAACP, Wendell J. Harris, Sr.
                   (cc: all counsel)(cb)

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12/08/2020   70     Audio of statue conference held on 12/8/2020 at 11:08 a.m.; File Size (51.1
                   MB) (kgw)
12/08/2020   71    Court Minutes and Order from the Status Conference held before Chief Judge
                   Pamela Pepper on 12/8/2020. The court DENIES the 44 Motion for
                   Consolidated Evidentiary Hearing and Trial on the Merits. The court ORDERS
                   the plaintiff to file his responses to the motions to dismiss (Dkt. Nos. 51 and 53)
                   and reply brief in support of his motion for injunctive relief (Dkt. No. 10) by
                   December 8, 2020 at 5 p.m. CST. The court ORDERS that if the defendants
                   and amici wish to file reply briefs in support of the motions to dismiss, they
                   must do so by December 9, 2020 at 3 p.m. CST. (Court Reporter Thomas
                   Malkiewicz.) (kgw)
12/08/2020   72    BRIEF in Opposition filed by William Feehan re 51 MOTION to Dismiss
                   Plaintiff's Amended Complaint, 10 Emergency MOTION to Amend/Correct
                   Docket # 6: PLAINTIFFS CORRECTED MOTION FOR DECLARATORY,
                   EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF , 53 MOTION to
                   Dismiss and Consolidated in Reply/Response to Response Briefs of Defendants
                   and Opposition Briefs of Amici. (Attachments: # 1 Exhibit, # 2 Exhibit)(Dean,
                   Michael)
12/09/2020   73    REPLY BRIEF in Support filed by Tony Evers re 51 MOTION to Dismiss
                   Plaintiff's Amended Complaint . (Attachments: # 1 Exhibit 1 American
                   Commercial Barge Lines v. Reserve FTL, # 2 Exhibit 2 Trump v. Secretary of
                   Pennsylvania)(Mandell, Jeffrey)
12/09/2020   74    ORDER signed by Chief Judge Pamela Pepper on 12/9/2020. 14 James
                   Gesbeck's motion to intervene DENIED. 33 James Gesbeck's Civil LR 7(h)
                   motion to intervene GRANTED to extent it asks the court to expedite ruling on
                   motion to intervene and DENIED to extent it asks the court to grant motion to
                   intervene. (cc: all counsel)(cb)
12/09/2020   75    MOTION to Seal Document Public Motion Prior to Filing Sealed/Restricted
                   Exhibits by William Feehan. (Attachments: # 1 Exhibit, # 2 Exhibit)(Dean,
                   Michael)
12/09/2020   76    BRIEF in Support filed by William Feehan re 75 MOTION to Seal Document
                   Public Motion Prior to Filing Sealed/Restricted Exhibits . (Dean, Michael)
12/09/2020   77    REPLY BRIEF in Support filed by Marge Bostelmann, Julie M Glancey, Ann S
                   Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                   Elections Commission re 53 MOTION to Dismiss . (Murphy, Sean)
12/09/2020   78    UNPUBLISHED Decision Pursuant to Civil L.R. 7(J) filed by Marge
                   Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                   Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission (Attachments:
                   # 1 Exhibit 1− King, # 2 Exhibit 2− Bognet, # 3 Exhibit 3− Boockvar, # 4
                   Exhibit 4− Hotze, # 5 Exhibit 5− Massey, # 6 Exhibit 6− Aguila Management,
                   # 7 Exhibit 7− Solow Building Co.)(Murphy, Sean)
12/09/2020   79    BRIEF in Opposition filed by Dorothy Harrell, Wendell J. Harris, Sr.,
                   Earnestine Moss, Wisconsin State Conference NAACP re 6 MOTION to
                   Amend/Correct Docket # 2: PLAINTIFFS MOTION FOR DECLARATORY,
                   EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF , 10 Emergency
                   MOTION to Amend/Correct Docket # 6: PLAINTIFFS CORRECTED
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                   MOTION FOR DECLARATORY, EMERGENCY, AND PERMANENT
                   INJUNCTIVE RELIEF . (Goode, Joseph)
12/09/2020   80    NOTICE of Appearance by Christopher Bouchoux on behalf of Democratic
                   National Committee. Attorney(s) appearing: Christopher Bouchoux (Bouchoux,
                   Christopher)
12/09/2020   81    NOTICE by Tony Evers Notice of Supplemental Authority (Brook, Davida)
12/09/2020   82    ORDER signed by Chief Judge Pamela Pepper on 12/9/2020 DENYING 75
                   plaintiff's Motion to Seal Document Public Motion Prior to Filing
                   Sealed/Restricted Exhibits. (cc: all counsel)(cb)
12/09/2020   83    ORDER DISMISSING CASE signed by Chief Judge Pamela Pepper on
                   12/9/2020. 51 Defendant Evers's motion to dismiss plaintiff's amended
                   complaint GRANTED. 53 Defendants Wisconsin Elections Commission and its
                   Members motion to dismiss GRANTED. 6 Plaintiff's corrected motion for
                   declaratory, emergency and permanent injunctive relief DENIED as moot. 10
                   Plaintiff's amended motion for temporary restraining order and preliminary
                   injunction to be considered in an expedited manner DENIED as moot. 9
                   Plaintiff's amended complaint for declaratory, emergency and permanent
                   injunctive relief DISMISSED. (cc: all counsel)(cb)
12/10/2020   84    NOTICE OF APPEAL as to 83 Order Dismissing Case,,, Terminate Motions,,
                   by William Feehan. Filing Fee PAID $505, receipt number AWIEDC−3664794
                   (cc: all counsel) (Dean, Michael)
12/10/2020   85    JUDGMENT signed by Deputy Clerk and approved by Chief Judge Pamela
                   Pepper on 12/9/2020. (cc: all counsel)(cb)




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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

WILLIAM FEEHAN,

                           Plaintiff,                        CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS, MARK
  L. THOMSEN, MARGE BOSTELMAN,
  JULIE M. GLANCEY, DEAN KNUDSON,
  ROBERT F. SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS, in
  his official capacity,

                      Defendants.
______________________________________________________________________________

                        PLAINTIFF’S NOTICE OF APPEAL
______________________________________________________________________________

   Notice is hereby given that William Feehan, Plaintiff in the above named case, hereby appeals

to the United States Court of Appeals for the Seventh Circuit from the District Court’s Order dated

December 9, 2020, ECF Dkt. No.83, dismissing his Amended Complaint for Declaratory,

Emergency, and Permanent Injunctive Relief, Dkt. No. 9, and denying as moot his Corrected

Motion for Declaratory, Emergency, and Permanent Injunctive Relief, Dkt. No. 6, and Amended

Motion for Temporary Restraining Order and Preliminary Injunction to be Considered in an

Expedited Manner, Dkt. No. 10.




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Dated December 10, 2020.

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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

                    Plaintiff,
                                                     Case No. 20-cv-1771-pp
      v.

WISCONSIN ELECTIONS COMMISSION,
COMMISSIONER ANN S. JACOBS,
MARK L. THOMSEN, JULIE M. GLANCEY,
COMMISSIONER MARGE BOSTELMANN,
COMMISSIONER DEAN KNUDSON,
ROBERT F. SPINDELL, JR. and TONY EVERS,

                    Defendants.


        ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS
 (DKT. NOS. 51, 53), DENYING AS MOOT PLAINTIFF’S AMENDED MOTION
     FOR INJUNCTIVE RELIEF (DKT. NO. 6) AND DISMISSING CASE


      At 8:24 a.m. on Tuesday, December 1, 2020—twenty-eight days after the

November 3, 2020 general Presidential election, thirteen days after President

Donald J. Trump petitioned for a recount in Milwaukee and Dane Counties and

one day after the Wisconsin Elections Commission and the Governor certified

that Joseph R. Biden and Kamala D. Harris had received the highest number of

votes following that recount—two plaintiffs filed this lawsuit in federal court for

the Eastern District of Wisconsin. Although state law governs the election

process, the plaintiffs brought the suit in a federal court, asking that federal

court to order state officials to decertify the election results that state officials

had certified the day before, order the Governor not to transmit to the Electoral


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College the certified results he’d transmitted the day before and order the

Governor to instead transmit election results that declared Donald Trump to be

“the winner of this election.”

      The election that preceded this lawsuit was emotional and often divisive.

The pleadings that have been filed over the past week are passionate and

urgent. People have strong, deep feelings about the right to vote, the freedom

and opportunity to vote and the value of their vote. They should. But the legal

question at the heart of this case is simple. Federal courts have limited

jurisdiction. Does a federal court have the jurisdiction and authority to grant

the relief this lawsuit seeks? The answer is no.

      Federal judges do not appoint the president in this country. One wonders

why the plaintiffs came to federal court and asked a federal judge to do so.

After a week of sometimes odd and often harried litigation, the court is no

closer to answering the “why.” But this federal court has no authority or

jurisdiction to grant the relief the remaining plaintiff seeks. The court will

dismiss the case.

I.    Background

      According to defendant the Wisconsin Elections Commission’s November

18, 2020 canvass results, 3,297,352 Wisconsin residents voted in the

November 3, 2020 general election for President. https://elections.wi.gov/

sites/elections.wi.gov/files/Statewide%20Results%20All%20Offices%20%28pre

-Presidential%20recount%29.pdf. Of those, 49.45%—1,630,673—voted for

Biden for President and Harris for Vice-President. Id. Biden and Harris received

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approximately 20,600 more votes than Donald J. Trump for President and

Michael R. Pence for Vice-President. Id.

      Under Wis. Stat. §9.01(1)(a)(1), any candidate in an election where more

than 4,000 votes were cast for the office the candidate seeks and who trails the

leading candidate by no more than 1 percent of the total votes cast for that

office may petition for a recount. On November 18, 2020, Donald J. Trump filed

a recount petition seeking a recount of “all ballots in all wards in every City,

Village, Town and other voting unit in Dane and Milwaukee Counties.”

https://elections.wi.gov/sites/elections.wi.gov/files/2020-11/WEC%20-

%20Final%20Recount%20Order_0.pdf. The Wisconsin Elections Commission

granted that petition and ordered a recount “using the ballot count method

selected per Wis. Stat. § 5.90(1) unless otherwise ordered by a court per Wis.

Stat. § 5.90(2).” Id. The WEC ordered the recount to be completed by 12:00

p.m. on December 1, 2020. Id.

      The partial recount was completed on November 29, 2020.

https://elections.wi.gov/elections-voting/recount. On November 30, 2020, the

chair of the Wisconsin Elections Commission signed the statement of canvass

certifying that Joseph R. Biden and Kamala D. Harris received the greatest

number of votes and certified their electors. https://elections.wi.gov/sites/

elections.wi.gov/files/2020-11/Jacobs%20-%20Signed%20Canvass%20for%20

President%20-%20Vice%20President.pdf. The same day—November 30, 2020—

Wisconsin Governor Tony Evers announced that he had signed the Certificate

of Ascertainment for the electors for Biden and Harris.

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https://content.govdelivery.com/accounts/WIGOV/bulletins/2aef6ff. The web

site for the National Archives contains the Certificate of Ascertainment signed

by Evers on November 30, 2020, certifying that out of 3,298,041 votes cast,

Biden and Harris and their electors received 1,630,866 votes, while Trump and

Pence and their electors received 1,610,184 votes. https://www.archives.gov/

files/electoral-college/2020/ascertainment-wisconsin.pdf.

      On December 1, 2020, Donald J. Trump filed a petition for an original

action in the Wisconsin Supreme Court. Trump v. Evers, Case No.

2020AP001971-OA (available at https://wscca.wicourts.gov). On December 3,

2020, the court denied leave to commence an original petition because under

Wis. Stat. §9.01(6), appeals from the board of canvassers or the Wisconsin

Elections Commission must be filed in circuit court. Dkt. No. 59-7. The same

day—December 3, 2020—Donald J. Trump filed lawsuits in Milwaukee and

Dane Counties. Trump v. Biden, Case No. 2020CV007092 (Milwaukee County

Circuit Court; Trump v. Biden, Case No. 2020CV002514 (Dane County Circuit

Court) (both available at https://wcca.wicourts.gov). Those cases have been

consolidated and are scheduled for hearing on December 10, 2020 at 1:30 (or

for December 11, 2020 at 9:00 a.m. if the parties are litigating in another

court).

      Meanwhile, on December 2, 2020, Donald J. Trump filed suit in federal

court for the Eastern District of Wisconsin, suing the defendants in this case

and others. Trump v. Wisconsin Elections Commission, et al., Case No. 20-cv-




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1785-BHL (E.D. Wis.). There is an evidentiary hearing scheduled for December

10, 2020 at 9:00 a.m. by videoconference. Id. at Dkt. No. 45.

II.   Procedural History of the Case

      On December 1, 2020—the day after Governor Evers signed the

Certificate of Ascertainment—William Feehan and Derrick Van Orden filed a

complaint in the federal court for the Eastern District of Wisconsin. Dkt. No. 1.

Feehan identified himself as a resident of La Crosse, Wisconsin, a registered

voter and “a nominee of the Republican Party to be a Presidential Elector on

behalf of the State of Wisconsin.” Id. at ¶23. Van Orden was identified as a

resident of Hager City, Wisconsin and the 2020 Republican nominee for

Wisconsin’s Third Congressional District Seat for the U.S. House of

Representatives. Id. at ¶26. The complaint alleged that “Mr. Van Orden ‘lost’ by

approximately 10,000 votes to the Democrat incumbent,” and stated that

“[b]ecause of the illegal voting irregularities as will be shown below, Mr. Van

Orden seeks to have a new election ordered by this court in the Third District,

with that election being conducted under strict adherence with the Wisconsin

Election Code.” Id. at ¶27.

      The complaint alleged “massive election fraud, multiple violations of the

Wisconsin Election Code, see e.g., Wis. Stat. §§5.03, et seq., in addition to the

Election and Electors Clauses and Equal Protection Clause of the U.S.

Constitution” based on “dozens of eyewitnesses and the statistical anomalies

and mathematical impossibilities detailed in the affidavits of expert witnesses.”

Dkt. No. 1 at ¶1. The plaintiffs alleged four causes of action: (1) violation of the

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Elections and Electors Clauses and 42 U.S.C. §1983; (2) violation of the Equal

Protection Clause of the Fourteenth Amendment, 42 U.S.C. §1983 and the

“invalid enactment of regulations & disparate treatment of absentee vs. mail-in

ballots”; (3) denial of the Fourteenth Amendment due process right to vote and

42 U.S.C. §1983; and (4) “wide-spread ballot fraud.” Id. at ¶¶106-138.      The

plaintiffs asked for the following emergency relief:

      1.    An order directing Governor Evers and the Wisconsin
      Elections Commission to de-certify the election results:

      2.    An order enjoining Governor Evers from transmitting the
      currently certified election results [sic] the Electoral College;

      3.     An order requiring Governor Evers to transmit certified
      election results that state that President Donald Trump is the
      winner of the election;

      4.    An immediate emergency order to seize and impound all
      servers, software, voting machines, tabulators, printers, portable
      media, logs, ballot applications, ballot return envelopes, ballot
      images, paper ballots, and all “election materials” referenced in
      Wisconsin Statutes §9.01(1)(b)11 related to the November 3, 2020
      Wisconsin election for forensic audit and inspection by the Plaintiffs;

      5.    An order that no votes received or tabulated by machines that
      were not certified as required by federal and state law be counted;

      6.    A declaratory judgment declaring that Wisconsin’s failed
      system of signature verification violates the Electors and Elections
      Clause by working a de facto abolition of the signature verification
      requirement;

      7.     A declaratory judgment declaring that currently certified
      election results violate the Due Process Clause, U.S. Const. Amend.
      XIV;

      8.     A declaratory judgment declaring that mail-in and absentee
      ballot fraud must be remedied with a Full Manual Recount or
      statistically valid sampling that properly verifies the signatures on
      absentee ballot envelopes and that invalidates the certified results if


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      the recount or sampling analysis shows a sufficient number of
      ineligible absentee ballots were counted;

      9.    A declaratory judgment declaring absentee ballot fraud
      occurred in violation of Constitutional rights, Election laws and
      under state law;

      10. A permanent injunction prohibiting the Governor and
      Secretary of State from transmitting the currently certified results
      to the Electoral College based on the overwhelming evidence of
      election tampering;

      11. Immediate production of 48 hours of security camera
      recording of all rooms used in the voting process at the TCF Center1
      for November 3, 2020 and November 4, 2020;

      12. Plaintiffs further request the Court grant such relief as is just
      and proper including but not limited to, the costs of this action and
      their reasonable attorney fees and expenses pursuant to 42 U.S.C.
      §1988.

Id. at 50.

      With the complaint, the plaintiffs filed a motion for declaratory,

emergency, and permanent injunctive relief, dkt. no. 2, and memorandum in

support of that motion, dkt. no. 3. The motion stated that the specific relief the

plaintiff requested was set out in an attached order, dkt. no. 2 at 1, but there

was no order attached. The memorandum asked the court to grant the motion

and enter the proposed order, dkt. no. 3 at 10; again, no proposed order was

provided.

      Later that day, the plaintiffs filed a corrected motion for declaratory,

emergency, and permanent injunctive relief. Dkt. No. 6. The plaintiff did not file

a memorandum in support of this motion but did file a proposed order. Dkt.


1The plaintiff may be referring to the TCF convention center in Detroit,
Michigan; the court is unaware of a “TCF Center” in Wisconsin.
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No. 1. The relief described in the proposed order was almost identical to the

relief requested in the complaint, with a notable exception. Instead of the

request for an order requiring production of forty-eight hours of security

camera footage from the TCF Center, the plaintiffs asked for an order

prohibiting “any wiping or alteration of data or other records or materials” from

voting machines, tabulations machines, servers, software and printers, and

any alteration or destruction of ballot applications, ballot return envelopes,

ballot images, paper ballots, registration lists, poll lists or other election

materials, “across the state of Wisconsin.” Dkt. No. 6-1 at 7-8.

      Two days later, plaintiff Freehan filed an amended complaint removing

Derrick Van Orden as a plaintiff. Dkt. No. 9. It differed from the original

complaint only in the removal of Van Orden as a plaintiff.

      Along with the amended complaint, the plaintiff filed a motion for

temporary restraining order and preliminary injunction “to be considered in an

expedited manner.” Dkt. No. 10. The plaintiff did not file a memorandum in

support of the motion; his main purpose in filing the amended motion appears

to have been to ask the court to rule on the motion quickly. The plaintiff

attached a proposed briefing schedule, suggesting that the court should require

the defendants to respond by 8:00 p.m. on Friday, December 4, 2020 and

require him to file his reply by 8:00 p.m. on Saturday, December 5, 2020; he

proposed to submit the matter on briefs without argument. Dkt. No. 10-1. The

defendants objected to this severely truncated schedule. Dkt. Nos. 25




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(defendant Evers), 26 (defendants Wisconsin Election Commission and its

members).

      Construing the amended motion as a Civil L.R. 7(h) expedited, non-

dispositive motion for an expedited briefing schedule, the court granted the

request on December 4, 2020, setting a schedule that, while not as expedited

as the plaintiff requested, gave the parties a short leash. Dkt. No. 29.

      Wisconsin voter James Gesbeck filed a motion to intervene, dkt. no. 14,

and later an expedited motion to intervene, dkt. no. 33. The Democratic

National Committee (DNC) also sought to intervene. Dkt. No. 22. The court

denied both requests, dkt. nos. 41 (DNC), 74 (Gesbeck), but allowed both to file

amicus curiae briefs by the December 7, 2020 deadline it had set for the

defendants to oppose the plaintiff’s motion for injunctive relief, dkt. nos. 37

(Gesbeck), 41 (DNC).

      Recall that the plaintiff had not filed a memorandum in support of the

December 1, 2020 corrected motion for injunctive relief or in support of the

December 3, 2020 amended motion. On Sunday, December 6, 2020, the

plaintiff filed an amended memorandum in support of the motion. Dkt. No. 42.

In the first paragraph, the plaintiff indicated that he filed the amended

memorandum to “avoid possible confusion from removal of Mr. Van Orden is

[sic] plaintiff.” Id. at 1. He said that the memorandum was identical to the

original memorandum “except for amending references to plaintiffs to refer to

Mr. Meehan [sic] only and correcting several inadvertent references to the State

of Georgia.” Id.

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      On Sunday, December 6, the plaintiff also filed a motion asking the court

to schedule an evidentiary hearing “on the merits” for Wednesday, December 9,

2020 at 9:00 a.m. Dkt. No. 44. Although the plaintiff had not asked for a

hearing in any prior motion, and had represented in the amended motion that

he was submitting the matter on the briefs without argument, the plaintiff

explained that he had changed his position based on the court’s December 4,

2020 order. Id. at ¶4. The court denied the motion in a telephonic hearing on

December 8, 2020, explaining that before it could reach the merits of the

motion for injunctive relief, it must resolve issues regarding justiciability. Dkt.

Nos. 70, 71.

      In opposing the plaintiff’s amended motion for injunctive relief,

defendants Wisconsin Election Commission and its members argued that the

case has jurisdictional and procedural defects that require dismissal. Dkt. No.

52 at 5. They asserted that the plaintiff lacks Article III standing, id. at 6, that

the doctrine of laches bars consideration of his claims, id. at 8 and that the

Eleventh Amendment shields them from the relief he seeks, id. at 10. They

asserted that the complaint fails to state a claim for relief under the Election or

Electors Clauses, id. at 11, or under the Equal Protection or Due Process

Clauses, id. at 13, and they contended that the plaintiff’s purported evidence

fails to meet basic evidentiary standards, id. at 20.

      In his brief opposing injunctive relief, defendant Governor Evers argued

that there is no evidence of fraud in Wisconsin’s election results, dkt. no. 55 at

10, that the plaintiff’s witnesses and experts lack qualifications and are

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unreliable, id. at 12, and that the plaintiff has failed to state valid claims, id. at

22. Evers also argued that an adequate remedy at law exists because the

recount procedures under Wis. Stat. §9.01 unambiguously constitute the

“exclusive remedy” for challenging election results. Id. at 55. With respect to

the balancing of harms, Evers argued that the requested relief would prejudice

the defendants and “retroactively deprive millions of Wisconsin voters of their

constitutional right to vote in the 2020 presidential election.” Id. at 32.

      James Gesbeck, filing as friend of the court, opposed the motion for

injunctive relief on the grounds that the plaintiff has not established subject

matter jurisdiction and that the court should defer to the Wisconsin courts and

Wisconsin’s procedural mechanism for resolving disputed elections. Dkt. No.

47 at 11, 12. Gesbeck applied the balancing analysis for injunctive relief,

asserting that relief in this court would moot the Wis. Stat. §9.01 challenge

pending in the Wisconsin courts. Id. at 17. He argued that this, in turn, would

put the “insurmountable weight of the Federal Government on the election

result in Wisconsin and would be unbalancing the scale created by the system

of checks and balances that have been maintained since the Constitution was

adopted.” Id. at 17.

      Amicus DNC opposed the motion on many of the same grounds as the

other defendants. Dkt. No. 57. The DNC argued that the plaintiff lacks

standing, that the doctrine of laches bars the plaintiff’s claims, that the

defendants are immune from suit under the Eleventh Amendment, that

principles of federalism and comity require abstention, and that the plaintiff

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fails to state a claim upon which relief can be granted. Dkt. No. 57. It asserted

that the plaintiff cannot establish irreparable harm and has an adequate

remedy of law. Id. at 36.

       The defendants have filed motions to dismiss the case. The WEC and its

members seek dismissal for failure to state a claim under Federal Rule of Civil

Procedure 12(b)(6). Dkt. No. 53. Defendant Evers seeks dismissal for lack of

subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1), failure to plead fraud

with particularity under Fed. R. Civ. P. 9(b) and failure to state a claim under

Fed. R. Civ. P. 12(b)(6).

       The Wisconsin State Conference of the NAACP and three of its members

(Dorothy Harrell, Wendell J. Harris, Jr. and Earnestine Moss) sought leave to

file an amicus brief on the question of whether the court should dismiss the

case. Dkt. No. 56. The court granted that motion. Dkt. No. 69.

III.   Procedural Posture

       From the outset, the plaintiff has sought to have the claims in the

complaint resolved through a motion for injunctive relief under Fed. R. Civ. P.

65. The relief he requests in the second iteration of his motion for injunctive

relief is the same relief he requests in the lawsuit itself. As defendant Evers

points out in his motion to dismiss, the plaintiff’s December 6, 2020 motion for

an evidentiary hearing (which the court has denied) “makes clear that what

[the plaintiff] seeks—without any discovery or basic adversarial development of

evidence—is a trial and final adjudication on the merits.” Dkt. No. 51 at 2.




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      Evers points to Fed. R. Civ. P. 12(i), which states that “[i]f a party so

moves, any defense listed in Rule 12(b)(1)-(7)—whether made in a pleading or

by motion—and a motion under Rule 12(c) must be heard and decided before

trial unless the court orders a deferral until trial.” Because Evers has raised

defenses under Rule 12(b)(1) and (b)(6), and because in asking for a hearing the

plaintiff sought what would have been a trial on the merits of the causes of

action raised in the complaint, the court must resolve the defenses before

moving to the merits.

      As the court stated in the hearing on December 8, that requirement is

more than a procedural nicety. The defendants and the amici have raised

questions about this federal court’s authority to decide the claims alleged in

the amended complaint. If this court does not have jurisdiction to hear and

decide those claims, any decision it might make regarding the merits of the

claims would be invalid. For that reason, the court considers the motions to

dismiss before considering the plaintiff’s request for injunctive relief.

IV.   The Motions to Dismiss

      A.     Legal Standards

             1.    Rule 12(b)(1)—Lack of Subject Matter Jurisdiction

      In evaluating a motion to dismiss for lack of subject matter jurisdiction

under Fed. R. Civ. P. 12(b)(1), “the court must first determine whether a factual

or facial challenge has been raised.” Silha v. ACT, Inc., 807 F.3d 169, 173 (7th

Cir. 2015) (citing Apex Dig., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443

(7th Cir. 2009). A factual challenge alleges that even if the pleadings are

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sufficient, no subject matter jurisdiction exists. A facial challenge alleges that

the complaint is deficient—that the plaintiff has not sufficiently alleged subject

matter jurisdiction. Id. The difference matters—a court reviewing a factual

challenge “may look beyond the pleadings and view any evidence submitted to

determine if subject matter exists,” while a court reviewing a facial challenge

“must accept all well-pleaded factual allegations as true and draw all

reasonable inferences in favor of the plaintiff.” Id.

             2.    Rule 12(b)(6)—Failure to State a Claim

      A motion to dismiss for failure to state a claim under Rule 12(b)(6)

challenges the legal sufficiency of the complaint. A complaint must include “a

short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). The complaint must contain enough facts,

accepted as true, to “state a claim for relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows a court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556). “[T]he plausibility determination is a context-

specific task that requires the reviewing court to draw on its judicial experience

and common sense.” W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 676

(7th Cir. 2016).




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             3.    42 U.S.C. §1983

      To state a claim for a civil rights violation under 42 U.S.C. §1983, a

plaintiff must allege that someone deprived him of a right secured by the

Constitution or the laws of the United States and that whoever deprived him of

that right was acting under the color of state law. D.S. v. E. Porter Cty. Sch.

Corp., 799 F.3d 793, 798 (7th Cir. 2015) (citing Buchanan–Moore v. Cty. of

Milwaukee, 570 F.3d 824, 827 (7th Cir. 2009)).

      B.     Subject Matter Jurisdiction

      “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian

Life Ins. Co. of America, 511 U.S. 375, 377 (1994). Subject matter jurisdiction

has to do with “the courts’ statutory or constitutional power to adjudicate the

case.” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 89 (1998)

(emphasis in the original). “Article III, §2, of the Constitution extends the

‘judicial Power’ of the United States only to ‘Cases’ and ‘Controversies.’” Id. at

102. The defendants raise a factual challenge to the court’s subject matter

jurisdiction, arguing that regardless of the pleadings, subject matter

jurisdiction does not exist. The court may look outside the four corners of the

complaint in considering that challenge.

             1.    Standing

      Article III standing is an “essential component of Article III's case-or-

controversy requirement,” and therefore a “threshold jurisdictional question.”

Apex Dig., Inc., 572 F.3d at 443 (citing Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992)). “[N]o principle is more fundamental to the judiciary’s proper

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role in our system of government than the constitutional limitation of federal-

court jurisdiction to actual cases or controversies.” Raines v. Byrd, 521 U.S.

811, 818 (1997). “Standing to sue is part of the common understanding of what

it takes to make a justiciable case.” Id. “Standing is an element of subject-

matter jurisdiction in a federal civil action . . . .” Moore v. Wells Fargo Bank,

N.A., 908 F.3d 1050, 1057 (7th Cir. 2018).

      The “irreducible constitutional minimum of standing contains three
      requirements. Lujan v. Defenders of Wildlife, [504 U.S. 555], at 560
      [1992)]. First and foremost, there must be (and ultimately proved)
      an “injury in fact”—a harm suffered by the plaintiff that is “concrete”
      and “actual or imminent, not ‘conjectural’ or ‘hypothetical.’”
      Whitmore v. Arkansas, [495 U.S. 149], at 149 [1990] (quoting Los
      Angeles v. Lyons, 461 U.S. 95, 101-102 . . . (1983)). Second, there
      must be causation—a fairly traceable connection between the
      plaintiff’s injury and the complained-of conduct of the defendant.
      Simon v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26, 41-
      42 . . . (1976). And third, there must be redressability—a likelihood
      that the requested relief will redress the alleged injury. Id., at 45-46
      . . .; see also Warth v. Seldin, 422 U.S. 490, 505 . . . (1975). This
      triad of injury in fact, causation, and redressability constitutes the
      core of Article III’s case-or-controversy requirement, and the party
      invoking federal jurisdiction bears the burden of establishing its
      existence. See FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 . . . (1990).

Steel Co., 523 U.S. at 102-104.

      Regarding the “injury in fact” leg of the triad, the injury must be

“particularized,” such that it “affect[s] the plaintiff in a personal and individual

way.” Spokeo, Inc. v. Robins, ___ U.S. ___, 136 S. Ct. 1540, 1548 (2016)

(citations omitted). The injury also must be “concrete”—it must be “real,” not

“abstract.” Id. A plaintiff cannot show a particularized and concrete injury by

showing “that he has merely a general interest common to all members of the

public.” Ex parte Levitt, 302 U.S. 633, 634 (1937). A plaintiff may not use a

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“federal court as a forum in which to air his generalized grievances about the

conduct of government . . . .” United States v. Richardson, 418 U.S. 166, 174

(1974) (quoting Flast v. Cohen, 392 U.S. 83, 106 (1942)).

      As for the redressability leg of the triad, “[r]elief that does not remedy the

injury suffered cannot bootstrap a plaintiff into federal court; that is the very

essence of the redressability requirement.” Steel Co., 523 U.S. at 107. The

plaintiff must show that it is “likely,” not merely “speculative,” that the injury

the plaintiff alleges will be “redressed by a favorable decision.” Lujan, 504 U.S.

at 561 (quoting Simon, 426 U.S. at 38).

      In addition to the Article III case-or-controversy requirement, there is a

prudential limitation in Fed. R. Civ. P. 17(a), requiring that “[e]very action must

be prosecuted in the name of the real party in interest,” Fed. R. Civ. P. 17(a),

and “requir[ing] that the complaint be brought in the name of the party to

whom that claim ‘belongs’ or the party who ‘according to the governing

substantive law, is entitled to enforce the right.’” Rawoof v. Texor Petroleum

Co., Inc., 521 F.3d 750, 756 (7th Cir. 2008) (quoting Oscar Gruss & Son, Inc.

v. Hollander, 337 F.3d 186, 193 (2d Cir. 2003)); see also RK Co. v. See, 622

F.3d 846, 850 (7th Cir. 2010) (“the real party in interest rule is only concerned

with whether an action can be maintained in the plaintiff's name,” and is

“similar to, but distinct from, constitutional ... standing”). The real party in

interest is “the one who by the substantive law, possesses the right sought to

be enforced, and not necessarily the person who will ultimately benefit from the

recovery.” Act II Jewelry, LLC v. Wooten, 301 F. Supp. 3d 905, 910-911 (N.D.

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Ill. 2018) (quoting Checkers, Simon & Rosner v. Lurie Corp., 864 F.2d 1338,

1343 (7th Cir. 1988) (internal citations omitted)). The purpose of the rule is to

“protect the defendant against a subsequent action by the party actually

entitled to recover.” RK Co., 622 F.3d at 850 (citing Fed. R. Civ. P. 17(a)

advisory committee note (2009)).

      The amended complaint alleges that the plaintiff has standing “as a voter

and as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et seq

(election procedures for Wisconsin electors).” Dkt. No. 9 at 8. The defendants

argue that the plaintiff lacks standing in either capacity. Dkt. No. 43 at 4-5;

Dkt. No. 59 at 8-9.

                   a.    Standing as a voter

      The amended complaint does not assert that the plaintiff voted in the

2020 general Presidential election in Wisconsin. It says that he is a registered

voter, but it does not affirmatively state that he voted in the election the results

of which he asks the court to decertify. His counsel asserts in the brief in

opposition to the defendants’ motion to dismiss—filed eight days after the

original complaint and five days after the amended complaint—that the plaintiff

“voted for President Trump in the 2020 General Election.” Dkt. No. 72 at 17.

For the first time at the motion to dismiss stage, the plaintiff provided his own

declaration, in which he attests that he voted for President Donald J. Trump in

the November 3, 2020 election. Dkt. No. 72-1.

      The plaintiff claims that the defendants failed to comply “with the

requirements of the Wisconsin Election Code and thereby diluted the lawful

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ballots of the Plaintiff and of other Wisconsin voters and electors in violation of

the United States Constitution guarantee of Equal Protection.” Dkt. No. 9 at

¶116. He alleges that the defendants enacted regulations or issued guidance

that, in intent and effect, favored Democratic absentee voters over Republican

voters, and that these regulations and this guidance enable and facilitated

voter fraud. Id. The plaintiff also asserts that he has a right to have his vote

count and claims that a voter is injured if “the important of his vote is

nullified.” Id. at ¶127.

      Several lower courts have addressed the plaintiff’s theory that a single

voter has standing to sue as a result of his vote being diluted by the possibility

of unlawful or invalid ballots being counted. The district court for the Middle

District of North Carolina catalogued a few of those decisions, all finding that

the harm was too speculative and generalized—not sufficiently “concrete”—to

bestow standing. These courts concluded that the vote dilution argument fell

into the “generalized grievance” category. In Moore v. Circosta, the court wrote:

      Indeed, lower courts which have addressed standing in vote dilution
      cases arising out of the possibility of unlawful or invalid ballots
      being counted, as Plaintiffs have argued here, have said that this
      harm is unduly speculative and impermissibly generalized because
      all voters in a state are affected, rather than a small group of voters.
      See, e.g., Donald Trump for President, Inc. v. Cegavske, Case No.
      2:20-CV-1445 JCM (VCF), __ F. Supp. 3d __, __, 2020 WL 5626974,
      at *4 (D. Nev. Sept. 18, 2020) (“As with other generally available
      grievances about the government, plaintiffs seek relief on behalf of
      their member voters that no more tangibly benefits them than it does
      the public at large.”) (internal quotations and modifications omitted);
      Martel v. Condos, Case No. 5:20-cv-131, ___ F. Supp. 3d ___, ___,
      2020 WL 5755289, at *4 (D. Vt. Sept. 16, 2020) (“If every voter
      suffers the same incremental dilution of the franchise caused by
      some third-party’s fraudulent vote, then these voters have
      experienced a generalized injury.”); Paher v. Cegavske, 457 F. Supp.
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      3d 919, 926-27 (D. Nev. 2020) (“Plaintiffs’ purported injury of having
      their votes diluted due to ostensible election fraud may be
      conceivably raised by any Nevada voter.”); Am. Civil Rights Union v.
      Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D. Tex. 2015) (“[T]he
      risk of vote dilution [is] speculative and, as such, [is] more akin to a
      generalized grievance about the government than an injury in fact.”)

      Although “[i]t would over-simplify the standing analysis to conclude
      that no state-wide election law is subject to challenge simply
      because affects all voters,” Martel, __ F. Supp.3d at __, 2020 WL
      5755289, at *4, the notion that a single person’s vote will be less
      valuable as a result of unlawful or invalid ballots being cast is not a
      concrete and particularized injury necessary for Article III standing.
      Compared to a claim of gerrymandering, in which the injury is
      specific to a group of voters based on their racial identity or the
      district in which they live, all voters in North Carolina, not just
      Individual Plaintiffs, would suffer the injury Individual Plaintiffs
      allege. This court finds this injury to generalized to give rise to a
      claim of vote dilution . . . .

Moore v. Circosta, Nos. 1:20CV911, 1:20CV912, 2020 WL 6063332, at *14,

      The court agrees. The plaintiff’s alleged injuries are injuries that any

Wisconsin voter suffers if the Wisconsin election process were, as the plaintiff

alleges, “so riddled with fraud, illegality, and statistical impossibility that this

Court, and Wisconsin’s voters, courts, and legislators, cannot rely on, or

certify, any numbers resulting from this election.” Dkt. No. 9 at ¶5. The

plaintiff has not alleged that, as a voter, he has suffered a particularized,

concrete injury sufficient to confer standing.

      The plaintiff argues that it is incorrect to say that his standing is based

on a theory of vote dilution. Dkt. No. 72 at 19. He then proceeds to opine that

he has shown in great detail how his vote and the votes of others who voted for

Republican candidates was diluted. Id. at 19-20. He says the vote dilution did

not affect all Wisconsin voters equally, asserting that it had a negative impact

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on those who voted for Republican candidates and a positive impact on those

who voted for Democratic candidates. Id. at 20. He asserts that he also has

shown that the defendants sought to actively disenfranchise voters for

Republican candidates. Id. These are the same arguments he made in the

amended complaint and they still show no more than a generalized grievance

common to any voter. Donald J. Trump carried some Wisconsin counties; the

voters who voted for Joseph R. Biden in those counties could make the same

complaints the plaintiff makes here.

      The plaintiff says that his interests and injury are “identical to that of

President Trump,” and cites to Bush v. Gore, 531 U.S. 98 (2000), which he

characterizes as holding that “then-candidate George W. Bush of Texas had

standing to raise the equal protection rights of Florida voters that a majority of

the Supreme Court deemed decisive.” Id. at 21 (quoting Hawkins v. Wayne

Twp. Bd. of Marion Cty., Ind, 183 F. Supp. 2d 1099, 1103 (S.D. Ind. 2002)).

The court is stymied by the plaintiff’s assertion that his interests and injury are

identical to that of President Trump. As the court will explain in the next

section, contrary to his assertions, the plaintiff is not a “candidate” in the way

that President Trump was a candidate for office. President Trump’s interest is

in being re-elected, while the plaintiff has said that his interest is in having his

vote count and not be diluted. If his interest is solely in getting President

Trump re-elected, as opposed to having his vote be counted as part of a valid

election process, the court is aware of no constitutional provision that gives

him the right to have his candidate of choice declared the victor.

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      Nor does the decision in Bush v. Gore say what the plaintiff claims it

says. As far as the court can tell, the word “standing” does not appear in the

majority opinion. In the Indiana decision the plaintiff cites, then-district court

judge David Hamilton wrote: “If candidate Hawkins did not have standing to

raise equal protection rights of voters, it would be difficult to see how then-

candidate George W. Bush of Texas had standing to raise equal protection

rights of Florida voters . . . in Bush v. Gore.” Hawkins, 183 F. Supp.2d at 1103.

But the Supreme Court in Bush v. Gore never explained how candidate Bush

had standing, and even if it had, the plaintiff is not a candidate.

      Nor has the plaintiff demonstrated redressability. He complains that his

vote was diluted and that he wants his vote to count. But he asks the court to

order the results of the election de-certified and then to order defendant Evers

to certify the election for Donald J. Trump. Even if this federal court had the

authority to order the governor of the state of Wisconsin to certify the results of

a national presidential election for any candidate—and the plaintiff has

presented no case, statute or constitutional provision providing the court with

that authority—doing so would further invalidate and nullify the plaintiff’s vote.

The plaintiff wants Donald J. Trump to be certified as the winner of the

Wisconsin election as a result of the plaintiff’s vote. But what he asks is for

Donald J. Trump to be certified the winner as a result of judicial fiat. That

remedy does not redress the plaintiff’s alleged injury. Even the plaintiff

concedes in his brief in opposition to dismissal that “[d]efendant Evers can . . .

provide partial redress in terms of the requested injunctive relief, namely, by

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refusing to certify or transmit the election results, and providing access to

voting machines, records and other ‘election materials.’” Dkt. No. 72 at 21. The

plaintiff is wrong in that regard, as the court will explain when it discusses the

related doctrine of mootness; the point is that even from the plaintiff’s

perspective, the remedy he seeks will not fully redress the injury he claims.

       Circling back to Article III’s “case or controversy” requirement, the

Supreme Court has held that “[t]he remedy must of course be limited to the

inadequacy that produced the injury in fact that the plaintiff has established.”

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006) (quoting Lewis v.

Casey, 518 U.S. 343, 357 (1996)). In other words, “[a] plaintiff’s remedy must

be tailored to redress the plaintiff’s particular injury.” Gill v. Whitford, ___ U.S.

___, 138 S. Ct. 1916, 1934 (2018) (citing Cuno, 547 U.S. at 353). Even if the

plaintiff had alleged a particularized, concrete injury and even if the relief he

seeks would redress that injury, that relief is not tailored to the alleged injury.

As the Michigan court explained in King v. Whitmer, Case No. 20-13134 at Dkt.

No. 62, page 25 (E.D. Mich. Dec. 7, 2020), “Plaintiffs’ alleged injury does not

entitle them to seek their requested remedy because the harm of having one’s

vote invalidated or diluted is not remedied by denying millions of others their

right to vote.”

       The plaintiff’s status as a registered voter does not give him standing to

sue.




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                   b.    Standing as a nominee for elector

      The amended complaint alleges that the plaintiff has standing to bring

the suit “as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et

seq.” Dkt. No. 9 at ¶26. The amended complaint cites to “Wis. Stat. §§5.10, et

seq,” but the court is not sure what the “et seq.”—“and what follows”—

contributes to the plaintiff’s belief that he has standing. Wis. Stat. §5.10 is

followed by Wis. Stat. §5.15, which concerns the “Division of municipalities

into wards,” as well as other sections concerning polling places and voting

machines. The court assumes the plaintiff meant to reference only Wis. Stat.

§5.10.

      Wis. Stat. §5.10 states:

      Although the names of the electors do not appear on the ballot and
      no reference is made to them, a vote for the president and vice
      president named on the ballot is a vote for the electors of the
      candidates for whom an elector’s vote is cast. Under chs. 5 to 12, all
      references to the presidential election, the casting of votes and the
      canvassing of votes for president, or for president and vice president,
      mean votes for them through their pledged presidential electors.

      Relying on this section, the amended complaint directs the court’s

attention to Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020).2 In Carson,


2 The complaint also cites two Supreme Court cases: McPherson v. Blacker,
146 U.S. 1, 27 (1892) and Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S.
70, 76 (2000) (per curiam). Neither address the Article III standing of an elector.
In McPherson, the Court reviewed the Michigan supreme court’s decision on
the constitutionality of the Michigan statute governing selection of electors.
While the parties who brought the suit in state court were nominees for
presidential electors, the Court did not address their standing (or lack of it).
The petitioner in Bush was the then-Republican candidate, George W. Bush,
who was challenging the Florida supreme court’s interpretation of its election
statutes; again, the Court did not address (and had no need to address) the
standing of an elector to sue.
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two certified nominees of the Republican Party to be presidential electors sued

the Minnesota secretary of state, challenging a consent decree that “essentially

ma[de] the statutorily-mandated absentee ballot receipt deadline inoperative.”

Id. at 1054. As a result of the decree, the secretary of state had directed

election officials “to count absentee ballots received up to a week after election

day, notwithstanding Minnesota law.” Id. The potential electors sought an

injunction in federal court, but the district court found they lacked standing.

Id.

      The Eighth Circuit reversed, finding that the potential electors had

standing as candidates “because the plain text of Minnesota law treats

prospective presidential electors as candidates.” Id. at 1057. The court found

that candidates suffered particularized and concrete injury from an inaccurate

vote tally. Id. at 1058.

      The plaintiff urges this court to reach the same conclusion. An Eighth

Circuit decision is not binding on this court, but the question is whether the

reasoning in that decision is persuasive. A member of the panel in Carson

dissented from the majority opinion and expressed doubt about the potential

electors’ standing. Circuit Judge Jane Kelley wrote:

      . . . I am not convinced the Electors have Article III standing to assert
      claims under the Electors Clause. Although Minnesota law at times
      refers to them as “candidates,” see, e.g., Minn. Stat. § 204B.03
      (2020), the Electors are not candidates for public office as that term
      is commonly understood. Whether they ultimately assume the office
      of elector depends entirely on the outcome of the state popular vote
      for president. Id. § 208.04 subdiv. 1 (“[A] vote cast for the party
      candidates for president and vice president shall be deemed a vote



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      for that party’s electors.”) They are not presented to and chosen by
      the voting public for their office, but instead automatically assume
      that office based on the public’s selection of entirely different
      individuals. But even if we nonetheless assume the Electors should
      be treated like traditional political candidates for standing purposes,
      I question whether these particular candidates have demonstrated
      the “concrete and particularized” injury necessary for Article III
      standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 . . . (1992).
      To the contrary, their claimed injury—a potentially “inaccurate vote
      tally” . . .—appears to be “precisely the kind of undifferentiated,
      generalized grievance about the conduct of government: that the
      Supreme Court has long considered inadequate for standing. Lance
      v. Coffman, 549 U.S. 437, 442 . . . (2007) (examining standing in the
      context of a claim under the Elections Clause). Because the Electors,
      should they in fact assume that office, must swear an oath to mark
      their Electoral College ballots for the presidential candidate who won
      the popular vote, Minn. Stat. § 208.43 (2015), it is difficult to discern
      how they have more of a “particularized stake,” Lance, 549 U.S. at
      442 . . . , in Minnesota conducting fair and transparent elections
      than do the rest of the state’s voters.

Id. at 1063.

      Judge Kelly’s reasoning is the more persuasive. Under Wisconsin law, a

vote for the candidates of president and vice president is a vote for the electors

of those candidates. Wis. Stat. § 5.65(3)(a). When the electors meet, they must

vote for the candidates of the party that nominated the electors. Wis. Stat.

§7.75(2). Like Minnesota electors, Wisconsin electors may be referred to as

“candidates” by statute but they are not traditional political candidates

presented to and chosen by the voting public. Their interest in seeing that

every valid vote is correctly counted and that no vote is diluted is no different

than that of an ordinary voter. And the court has concluded, as did Judge

Kelly, that the plaintiff’s status as a voter does not give him standing.

      The amended complaint does not mention the Elections Clause or the

Electors Clause of the Constitution in relation to standing. In his brief in
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opposition to the motions to dismiss, the plaintiff alleges that he has standing

under “Electors and Elections Clause.” Dkt. No. 72 at 17. He asserts that the

Eighth Circuit found in Carson that electors had “both Article III and

Prudential standing under the Electors and Elections Clauses.” Id. The plaintiff

reads Carson differently than does this court. The Carson majority did not

mention the Electors or Elections Clause in its discussion of Article III

standing. The entire discussion of Article III standing was based on Minnesota

law. See Carson, 978 F.3d at 1-57-1058. In its discussion of prudential

standing, the Carson majority stated that “[a]lthough the Minnesota Legislature

may have been harmed by the Secretary’s usurpation of its constitutional right

under the Elector Clause, the Electors have been as well.” Id. at 1058-59.

      This court has found that the plaintiff does not have Article III standing,

but even if had not, it disagrees that the Elector Clause3 provides prudential

standing to electors. Article II, Section 1, Clause 2 of the Constitution—known

as the “Elector Clause”—states that “[e]ach State shall appoint, in such Manner

as the Legislature thereof may direct, a Number of Electors, equal to the whole

Number of Senators and Representatives to which the State may be entitled in

the Congress: but no Senator or Representative, or Person holding an Office of


3 The plaintiff cites the “Elector and Elections Clause” or “Clauses” in the same
breath but does not discuss the text of either. It is not clear how the plaintiff
sees the Elections Clause—Article II, Sec. 1, cl. 3—as providing him with
standing and the plaintiff has not developed that argument. The court notes
only that in Lance v. Coffman, the Supreme Court found that plaintiffs whose
only alleged injury was that the Elections Clause had not been followed did not
have standing because they alleged “precisely the kind of undifferentiated,
generalized grievance about the conduct of government that we have refused to
countenance in the past.” Lance, 549 U.S. at 442.
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Trust or Profit under the United States, shall be appointed an Elector.” The

clause confers on the state the right to appoint electors and confers on the

legislature the right to decide the way those electors will be appointed. It

confers no right on the electors themselves. Just a few months ago, the

Supreme Court stated as much in Chiafalo v. Washington, ___ U.S. ___, 140 S.

Ct. 2316, 2328 (July 6, 2020), in the context of considering whether a state

could penalize an elector for breaking his pledge and voting for someone other

than the candidate who won his state’s popular vote:4 “Article II and the

Twelfth Amendment give States broad powers over electors, and give electors

themselves no rights.” The Court went on to say,

      Early in our history, States decided to tie electors to the presidential
      choices of others, whether legislatures or citizens. Except that
      legislatures no longer play a role, that practice has continued for
      more than 200 years. Among the devices States have long used are
      pledge laws, designed to impress on electors their role as agents of
      others. A State follows in the same tradition if, like [the state of]
      Washington, it chooses to sanction an elector for breaching his
      promise. Then, too, the State instructs its electors that they have no
      ground for reversing the vote of millions of its citizens. That direction
      accords with the Constitution—as well as with the trust of a Nation
      that here, We the People rule.

Id.

      The plaintiff’s status as a nominee to be a Republican elector does not

give him Article III or prudential standing.




4 Wisconsin’s “pledge law”—Wis. Stat. §7.75(1)—does not impose a penalty on a
“faithless elector.”
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               2.   Mootness

      Mootness “has sometimes been called ‘the doctrine of standing set in a

time frame.’” Chi. Joe’s Tea Room, LLC v. Vill. of Broadview, 894 F.3d 807,

812-13 (7th Cir. 2018) (quoting Friends of the Earth, Inc. v. Laidlaw Envtl.

Services (TOC), Inc., 528 U.S. 167, 189 (2000)). A case becomes moot “‘when

the issues presented are no longer “live” or the parties lack a legally cognizable

interest in the outcome.’” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)

(quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per curiam)). “Mootness

strips a federal court of subject-matter jurisdiction.” Id. at 815 (citing DJL

Farm LLC v. EPA, 813 F.3d 1048, 1050 (7th Cir. 2016). This is because “[a]

case that becomes moot at any point during the proceedings is ‘no longer a

“Case” or “Controversy” for purposes of Article III.’” United States v. Sanchez-

Gomez, __ U.S. __, 138 S. Ct. 1532, 1537 (2018) (quoting Already, LLC, 568

U.S. at 91).

      The amended complaint states that the plaintiff brought this suit “to

prohibit certification of the election results for the Office of President of the

United States in the State of Wisconsin . . . .” Dkt. No. 9 at ¶27. The plaintiff

asks the court to prohibit from occurring an event that already has occurred—

an event that occurred the day before he filed this lawsuit and nine days before

the court issues this order. He asks the court to enjoin defendant Evers from

transmitting the certified election results, id. at ¶142—an event that already

has occurred. He asks the court to order that certain votes not be counted, id.,

when the vote counting has been over since November 29.

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      The plaintiff himself demonstrates the mootness problem in his brief in

opposition to dismissal. He states that defendant Evers can provide partial

redress for his alleged injuries “by refusing to certify or transmit the election

results.” Dkt. No. 72 at 21. But Evers already has certified and transmitted the

elections results—he cannot refuse to do that which he already has done.

      At the December 8 hearing, the plaintiff argued that there remains a live

controversy because the electors have not yet voted and will not do so until

Monday, December 14, 2020. Dkt. No. 70. This argument ignores the fact that

several of the events that dictate which slate of nominees are certified to vote

already have taken place and had taken place at the time the plaintiff filed his

complaint. The votes have been counted. In two counties, they’ve been counted

twice. The WEC chair has signed the canvass and certified electors for

Biden/Harris. The governor has signed the Certificate of Ascertainment and the

National Archive has that certificate.

      In his brief in opposition to dismissal, the plaintiff points to this court’s

own order earlier in this case, determining that the plaintiff had not

demonstrated why the December 8, 2020 “safe harbor” deadline under 3 U.S.C.

§5 was the date by which the plaintiff needed the court to issue a decision to

preserve his rights. Dkt. No. 72 at 25 (citing Dkt. No. 29 at 7). The court noted

in that order that the plaintiff’s brief in opposition to a motion to reassign

another case erroneously referred to December 8 as the date that the College of

Electors was scheduled to meet. Dkt. No. 29 at 7. The court pointed out that

that was incorrect, and that December 8 was the deadline by which the state

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would have to make its final determination of any election dispute in order to

avoid congressional challenge. Id. The court then said, “Because the electors do

not meet and vote until December 14, 2020, the court will impose a less

truncated briefing schedule than the one the plaintiff proposes . . . .” Dkt. No.

29.

      The plaintiff says that “[i]mplicit in this Court’s determination” is the

assumption that “this Court can still grant some or perhaps all of the relief

requested and this Plaintiff’s claims are not moot.” Dkt. No. 72 at 25. The

plaintiff reads more into the court’s language than the court intended. In the

plaintiff’s earliest pleadings—the first motion for injunctive relief, the

“corrected” motion for injunctive relief, the “amended” motion for injunctive

relief—the plaintiff failed to identify a date by which he needed the court to act.

The first time he identified such a date was in his brief in opposition to a

motion to reassign another case—and then, the reference was oblique. In his

opposition brief, the plaintiff stated, “With the College of Electors scheduled to

meet December 8, there could never be a clearer case of ‘justice delayed is

justice denied.’” Dkt. No. 18 at 1. From that, the court deduced that the

plaintiff needed the court to act by the date the College of Electors was

scheduled to meet. But the College of Electors was not scheduled to meet

December 8—it was (and is) scheduled to meet December 14. So the court set a

briefing schedule that would give the defendants a chance to respond, but

would complete briefing ahead of the event the plaintiff deemed important—the




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electoral meeting and vote. That was not a decision by this court—implicit or

explicit—on the mootness of the plaintiff’s claims.

      The plaintiff also asserts that the “cutoff for election-related challenges,

at least in the Seventh Circuit, appears to be the date that the electors meet,

rather than the date of certification.” Dkt. No. 72 at 24. He cites Swaffer v.

Deininger, No. 08-CV-208, 2008 WL 5246167 (E.D. Wis. Dec. 17, 2008).

Swaffer is not a Seventh Circuit case, and the court is not aware of a Seventh

Circuit case that establishes a “cutoff for election-related challenges.” And the

plaintiff seems to have made up the “quote” in his brief that purports to be

from Swaffer. The plaintiff asserts that these words appear on page 4 of the

Swaffer decision: “even though the election has passed, the meeting of electors

obviously has not, so plaintiff’s claim here is hardly moot.” Dkt. No. 72 at 24-

25. The court has read page 4 of Swaffer—a decision by this court’s colleague,

Judge J.P. Stadtmueller—three times and cannot find these words. In fact,

Swaffer did not involve a challenge to a presidential election and it did not

involve electors. Mr. Swaffer sought to challenge a Wisconsin statute requiring

individuals or groups promoting or opposing a referendum to file a registration

statement and take other actions. Swaffer, 2008 WL 5246167, at *1. The

defendants argued that the election (in which the plaintiff had taken steps to

oppose a referendum on whether to allow liquor sales in the Town of

Whitewater) was over and that Swaffer’s claims thus were moot. Id. at 2. Judge

Stadtmueller disagreed, finding that because Swaffer alleged that he intended




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to violate the statutes at issue in the future, a credible threat of prosecution

remained. Id. at 3.

      Some of the relief the plaintiff requests may not be moot. For example, he

asks for an immediate order seizing voting machines, ballots and other

materials relating to the physical mechanisms of voting. And there remain five

days until the electors vote—as the events of this year have shown, anything

can happen. But most of the relief the plaintiff seeks is beyond this court’s

ability to redress absent the mythical time machine.

             3.    Conclusion

      The plaintiff does not have Article III standing to sue in federal court for

the relief he seeks.

      C.     Other Arguments

      Standing is the sine qua non of subject matter jurisdiction. Absent

standing, the court does not have jurisdiction to consider the plaintiff’s claims

on the merits. Arguably, it has no jurisdiction to consider the other bases the

defendants and amici assert for why the court should dismiss the case. At the

risk of producing dicta (and spilling even more ink on a topic that has received

an ocean’s worth by now), the court will briefly address some of the other bases

for the sake of completeness.

             1.    Eleventh Amendment Immunity

      The defendants argue that the plaintiff’s claims are barred by the

Eleventh Amendment. Dkt. No. 59 at 15; Dkt. No. 54 at 10. The Eleventh

Amendment “bars most claims in federal court against a state that does not

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consent to suit.” Carmody v. Bd. of Trs. of Univ. of Ill., 893 F.3d 397, 403 (7th

Cir. 2018) (citations omitted). States are immune from suit in federal court

“unless the State consents to the suit or Congress has abrogated their

immunity.” Tucker v. Williams, 682 F.3d 654, 658 (7th Cir. 2012) (citing

Seminole Tribe v. Florida, 517 U.S. 44 (1996)). This includes suits brought in

federal court against nonconsenting states by their own citizens. See, e.g.,

Edelman v. Jordan, 415 U.S. 651, 663 (1974); Hans v. Louisiana, 134 U.S. 1,

15 (1890) (“Can we suppose that, when the eleventh amendment was adopted,

it was understood to be left open for citizens of a state to sue their own state in

the federal courts, while the idea of suits by citizens of other states, or of

foreign states, was indignantly repelled?”).

      The plaintiff has sued the Governor of Wisconsin, Tony Evers, in his

official capacity; the Wisconsin Elections Commission and each member of the

WEC in his or her official capacity. Before going too much further down the

Eleventh Amendment road, the court notes that the vehicle for the plaintiff to

bring his constitutional claims—his claims under the Elector Clause, the

Elections Clause, the Equal Protection Clause and the Due Process Clause—is

42 U.S.C. §1983. Section 1983 prohibits a “person” acting under color of state

law from violating another’s civil rights. The Wisconsin Elections Commission

is not a “person.” It is an arm of the state of Wisconsin, Wis. Stat. §5.05, and

“states are not suable ‘persons’ under 42 U.S.C. § 1983.” Phillips v. Baxter, 768

F. App’x 555, 559-560 (7th Cir. 2019) (citing Sebesta v. Davis, 878 F.3d 226,

231 (7th Cir. 2017)). See also, Will v. Mich. Dept. of State Police, 491 U.S. 58,

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64 (1989) (“a State is not a person within the meaning of § 1983”). “Section

1983 provides a federal forum to remedy many deprivations of civil liberties,

but it does not provide a federal forum for litigants who seek a remedy against

a State for alleged deprivations of civil liberties.” Will, 491 U.S. at 66. The WEC

is not the proper defendant for the plaintiff’s constitutional claims.

      The plaintiff faces the same problem with his claims against the

individual defendants, all of whom are state officials whom he sues in their

official capacities.5

      Obviously, state officials literally are persons. But a suit against a
      state official in his or her official capacity is not a suit against the
      official but rather is a suit against the official’s office. Brandon v.
      Holt, 469 U.S. 464, 471 . . . (1985). As such, it is no different from a
      suit against the State itself. See, e.g., Kentucky v. Graham, 473 U.S.
      159, 165-66 . . . (1985); Monell [v. New York City Dept. of Social
      Services, 436 U.S. 658], at 690 [(1978)].

Id. at 71. Arguably, none of the defendants are subject to suit under 42 U.S.C.

§1983, which means that even if the plaintiff had standing, the court would

have to dismiss Counts I, II and III of the amended complaint.

      Circling back to the defendants’ Eleventh Amendment argument, “The

Eleventh Amendment extends to state agencies and departments and, subject

to the Ex Parte Young doctrine, to state employees acting in their official

capacities.” Nelson v. LaCrosse Cty. Dist. Atty. (State of Wis.), 301 F.3d 820,




5Had the plaintiff sued the individual defendants in their personal capacities,
he could have sought relief against them under 42 U.S.C. §1983, assuming he
had standing.
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827 n.7 (7th Cir. 2002) (citing Pennhurst State Sch. & Hosp. v. Halderman,

465 U.S. 89, 123-24 (1984)).

      There are three exceptions to Eleventh Amendment immunity: (1)

congressional abrogation, Nuñez v. Ind. Dep’t of Child Servs., 817 F.3d 1042,

1044 (7th Cir. 2016) (citing Alden v. Maine, 527 U.S. 706, 754-55 (1999); (2) “a

state’s waiver of immunity and consent to suit,” id. (citing College Savings

Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 675

(1999)); and (3) a suit “against state officials seeking only prospective equitable

relief,” id. (citing Ex parte Young, 209 U.S. 123, 159-60 (1908)). None of the

exceptions apply here.

      Congress did not abrogate the sovereign immunity of the states when it

enacted 42 U.S.C. §1983. Will, 491 U.S. at 66. Wisconsin has not waived its

immunity from civil actions under §1983. See Shelton v. Wis. Dep’t of Corr.,

376 Wis. 2d 525, *2 (Table) (Ct. App. 2017) (citing Boldt v. State, 101 Wis. 2d

566, 584-85 (1981)). And the Ex parte Young doctrine does not apply when a

plaintiff asserts a claim—regardless of the relief requested—against a state

official based on state law. Pennhurst, 465 U.S. at 106 (“A federal court’s grant

of relief against state officials on the basis of state law, whether prospective or

retroactive, does not vindicate the supreme authority of federal law. On the

contrary, it is difficult to think of a greater intrusion on state sovereignty than

when a federal court instructs state officials on how to conform their conduct

to state law.”). “In determining whether the Ex parte Young doctrine avoids an

Eleventh Amendment bar to suit, a court need only conduct a ‘straightforward

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inquiry’ into whether the complaint alleges an ongoing violation of federal law

and seeks relief properly characterized as prospective.” Verizon Md., Inc. v.

Pub. Serv. Comm’n of Md., 535 U.S. 635, 636 (2002) (quoting Idaho v. Coeur

d’Alene Tribe of Idaho, 521 U.S. 261, 296 (1997); McDonough Assocs., Inc. v.

Grunloh, 722 F.3d 1043, 1051 (7th Cir. 2013)).

      Count IV of the amended complaint alleges “[w]ide-spread ballot fraud,” a

state-law claim. The Eleventh Amendment bars that claim against the

defendants in their official capacities. The Eleventh Amendment also bars the

plaintiff’s federal claims to the extent that the plaintiff seeks retrospective

relief. The Supreme Court has refused to extend the Ex Parte Young doctrine to

claims for retrospective relief. Green v. Mansour, 474 U.S. 64, 68 (1985) (citing

Pennhurst, 465 U.S. at 102-103). The amended complaint seeks (1) a

“temporary restraining order instructing Defendants to de-certify the results of

the General Election for the Office of President,” dkt. no. 9 at 47; (2) “an order

instructing the Defendants to certify the results of the General Election for

Office of the President in favor of President Donald Trump,” id.; (3) “a

temporary restraining order” prohibiting the tabulation of unlawful votes,” id.;

(4) an order preserving voting equipment and data, id.; (5) “the elimination of

the mail ballots from counting in the 2020 election,” id. at 48; (6) the

disqualification of Wisconsin’s electors from participating in the 2020 election,

id.; and (7) an order directing Wisconsin’s electors to vote for President Donald

Trump, id. As the court already has noted, with the possible exception of the




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request for an order preserving voting equipment and data, the relief the

plaintiff requests is retrospective.

      The plaintiff disagrees—he characterizes the certification of the election

results as “ongoing violations of federal law . . . ongoing violations of the

Electors and Elections Clauses, the Equal Protection and Due Process Clauses,

as well as likely violations of federal law including the Voting Rights Act and

the Help America Vote Act.” Dkt. No. 72 at 25-26. The plaintiff has not brought

claims under the latter two statutes and saying that a completed event is an

ongoing violation doesn’t make it so.

             2.    Exclusive Remedy/Exhaustion/Abstention

      Defendant Evers moves to dismiss because Wisconsin provides a remedy

to address irregularities or defects during the voting or canvassing process:

Wis. Stat. §9.01(11). Four days ago, the Wisconsin Supreme Court held that

§9.01(6) requires that a party aggrieved after a recount must appeal by filing

suit in circuit court. Trump v. Evers, No. 2020AP1971-OA, Order at *2 (Wis.

Dec. 3, 2020). In a concurring opinion, Justice Hagedorn noted that Wis. Stat.

§9.01(11) provides that §9.01 is the exclusive judicial remedy for an aggrieved

candidate. Defendant Evers points out that President Trump has lawsuits

pending in state circuit courts and argues that those cases raise many of the

claims the plaintiff raises here. Dkt. No. 59 at 11. He argues that the process

detailed in Wis. Stat. §9.01 is designed to allow an aggrieved candidate to

resolve election challenges promptly, and that for this court to permit the




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plaintiff to circumvent that process “would eviscerate Wisconsin’s careful

process for properly and quickly deciding election challenges.” Id. at 11-12.

      Of course, the plaintiff has no redress under Wis. Stat. §9.01, because he

is not a “candidate” in the sense of that statute. But Evers argues that there

was a form of state-law relief available to the plaintiff. He asserts that the

plaintiff should have filed a complaint with the Wisconsin Elections

Commission under Wis. Stat. §5.06. Dkt. No. 59 at 13. That statute allows a

voter dissatisfied with the Wisconsin election process to file a written, sworn

complaint with the elections board. Wis. Stat. §5.06(1). The statute states that

no voter may “commence an action or proceeding to test the validity of any

decision, action or failure to act on the part of any election official” without first

filing a complaint under §5.06(1). Wis. Stat. §5.06(2). Evers points out that the

plaintiff has not demonstrated that he followed this procedure and thus that

the plaintiff did not exhaust his remedies before coming to federal court. Dkt.

No. 59 at 14.

      The plaintiff does not directly respond to the exhaustion argument. He

simply maintains that he has a right to bring his constitutional claims in

federal court, argues that there is no evidence that the statute Evers cites is an

exhaustion requirement and asserts that the court has federal question

jurisdiction under 28 U.S.C. §1331 and supplemental jurisdiction over any

state-law claims under 28 U.S.C. §1367.6 Dkt. No. 72 at 27-28. He neatly


6 The court could exercise supplemental jurisdiction over state-law claims only
if there remained federal claims to which those state-law claims related. As the
court has noted, it likely would have been required to dismiss the federal
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sidesteps the question of why he did not follow a procedure that would have

allowed him to direct his concerns to the entity in charge of enforcing the

state’s election laws and in a way that likely would have brought those

concerns to that entity’s attention long before the election results were

certified.

       Because the court has concluded that the plaintiff does not have

standing, and because the plaintiff has sued defendants who either are not

suable under §1983 or are protected by Eleventh Amendment immunity, the

court will not accept the invitations of the defendants and amici to wade into

the waters of the various types of abstention. If this court does not have subject

matter jurisdiction, there is no case or controversy from which it should

abstain. The court agrees with the parties, however, that the relief the plaintiff

requests—asking a federal judge to order a state governor to decertify the

election results for an entire state and direct that governor to certify a different

outcome—constitutes “an extraordinary intrusion on state sovereignty from

which a federal court should abstain under longstanding precedent.” Dkt. No.

57 at 28.

             3.    Laches

       The defendants argue that the equitable defense of laches requires

dismissal, because the plaintiff “inexplicably waited until after the election,

after the canvassing, after the recount, after the audit, after results were


claims because the plaintiff asserted them through §1983 against state officials
in their official capacities, which in turn would have required dismissal of any
state claims for lack of subject matter jurisdiction.
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certified, and indeed until the eve of the electoral college vote, to bring his claim

of state law violations and widespread fraud . . . .” Dkt. No. 52 at 11. See also,

Dkt. No 59 at 17 (“the doctrine of laches bars [the plaintiff’s] claims because he

has unreasonably delayed bringing his claims to the detriment not only of

Defendants, but also of the nearly 3.3 million voters in Wisconsin who voted in

this last election under the good-faith belief that they were following the correct

procedures to have their votes counted.”).

      The doctrine of laches “addresses delay in the pursuit of a right when a

party must assert that right in order to benefit from it.” Hot Wax, Inc. v. Turtle

Wax, Inc., 191 F.3d 813, 820 (7th Cir. 1999). “For laches to apply in a

particular case, the party asserting the defense must demonstrate: (1) an

unreasonable lack of diligence by the party against whom the defense is

asserted and (2) prejudice arising therefrom.” Id. (citing Cannon v. Univ. of

Health Scis./The Chicago Med. Sch., 710 F.2d 351, 359 (7th Cir. 1983)).

“Timeliness must be judged by the knowledge of the plaintiffs as well as the

nature of the right involved.” Jones v. v. Markiewicz-Qualkinbush, 842 F.3d

1053, 1061 (7th Cir. 2016).

      “The obligation to seek injunctive relief in a timely manner in the election

context is hardly a new concept.” Id. at 1060-61. In fact, the Seventh Circuit

has held that such “claims must be brought expeditiously . . . to afford the

district court sufficient time in advance of an election to rule without

disruption of the electoral cycle.” Id. at 1061 (internal quotation marks and

citations omitted).

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      The amended complaint asserts that the alleged problems with the

Dominion voting machine software “have been widely reported in the press and

have been subject to investigation.” Dkt. No. 9 at ¶12. It cites to exhibits from

January and August of 2020. Dkt. No. 9 at 5 n.1. It cites to the WEC’s May 13,

2020 directive to clerks that they should not reject the ballots of “indefinitely

confined” absentee voters. Id. at ¶40. It cites an October 18, 2016

memorandum issued by the WEC instructing clerks on how to handle absentee

envelope certifications that did not bear the address of the witness. Id. at ¶44.

It cites October 19, 2020 instructions by the WEC to clerks about filling in

missing ballot information. Id. at ¶45.

      Defendant Evers points out that the plaintiff’s own allegations

demonstrate that he has known about the Dominion voting machine issues

since long before the election. Dkt. No. 59 at 17-18. He argues that the WEC

guidance about which the plaintiff complains came in directives issued in

October 2016, May 2020 and October 2020. Id. He asserts that the plaintiff has

made no effort “to offer a justifiable explanation for why he waited until weeks

after the election to challenge” these issues. Id. at 18. The WEC defendants

advise the court that the issue regarding “indefinitely confined” voters was

litigated in state court almost eight months ago. Dkt. No. 54 at 9 (citing Pet.

For Original Action dated March 27, 2020, Supreme Court of Wisconsin, No.

2020AP000557-OA). They assert that the plaintiff “waited to challenge widely-

known procedures until after millions of voters cast their ballots in reliance on

those procedures.” Id. at 6. They state that “[i]f the doctrine of laches means

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anything, it is that Plaintiff here cannot overturn the results of a completed and

certified election through preliminary relief in this late-filed case.” Id.

      The plaintiff first responds that laches is a defense and shouldn’t be

raised on a motion to dismiss. Dkt. No. 72 at 22. He then claims that he could

not have known the bases of any of these claims until after the election. Id. at

22-23. He says that because Wisconsin election officials did not “announce or

publicize their misconduct,” and because, he alleges, they “prevented

Republican poll watchers from observing the ballot counting and handling,” it

took him time to gather the evidence and testimony he attached to the

amended complaint. Id. at 23. Finally, he alleges that the delay post-November

3, 2020 is attributable to the defendants’ failure to timely complete the election

count. Id. He insists that he filed this suit at the earliest possible moment—the

day after the certification. Id.

      The court has determined that the plaintiff does not have standing. That

means that the court does not have jurisdiction to assess the plaintiff’s

credibility, and it will refrain from doing so.

             4.     Failure to state a claim upon which relief can be granted

      Both defendants asked the court to dismiss the case for failure to state a

claim under Fed. R. Civ. P. 12(b)(6). Because the court does not have subject

matter jurisdiction, it will not address the sufficiency of the substantive claims

in the amended complaint.




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             5.     Requests for injunctive relief

      For the same reason, the court cannot address the merits of the

plaintiff’s request for preliminary injunctive relief.

V.    Conclusion

      This court’s authority to grant relief is confined by the limits of the

Constitution. Granting the relief the plaintiff requests would take the

court far outside those limits, and outside the limits of its oath to uphold

and defendant the Constitution. The court will grant the defendants’

motion to dismiss.

      The court GRANTS Defendant Governor Tony Evers’s Motion to

Dismiss Plaintiff’s Amended Complaint. Dkt. No. 51.

      The court GRANTS Defendant Wisconsin Elections Commission

and Its Members’ Motion to Dismiss. Dkt. No. 53.

      The court DENIES AS MOOT Plaintiff’s Corrected Motion for

Declaratory, Emergency, and Permanent Injunctive Relief. Dkt. No. 6.

      The court DENIES AS MOOT Plaintiff’s Amended Motion for

Temporary Restraining Order and Preliminary Injunction to be Considered

in an Expedited Manner Dkt. No. 10.

      The court DISMISSES the Amended Complaint for Declaratory,

Emergency, and Permanent Injunctive Relief. Dkt. No. 9.




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The court ORDERS that this case is DISMISSED.

Dated in Milwaukee, Wisconsin this 9th day of December, 2020.

                             BY THE COURT:


                             _____________________________________
                             HON. PAMELA PEPPER
                             Chief United States District Judge




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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

WILLIAM FEEHAN,

             Plaintiff,
                                            JUDGMENT IN A CIVIL CASE
        v.
                                                  Case No. 20-cv-1771-pp
WISCONSIN ELECTIONS COMMISSION,
ANN S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, JULIE M. GLANCEY,
DEAN KNUDSON, ROBERT F. SPINDELL, JR.,
and TONY EVERS,

             Defendants.


     Jury Verdict. This case came before the court for a trial by jury. The
parties have tried the issues, and the jury has rendered its verdict.

     Decision by Court. This case came before the court, the court has
decided the issues, and the court has rendered a decision.

      THE COURT ORDERS AND ADJUDGES that judgment is entered in
favor of the defendants and against the plaintiff.

        THE COURT ORDERS that this case is DISMISSED.

        Approved and dated in Milwaukee, Wisconsin this 9th day of December,
2020.

                                            BY THE COURT:



                                            HON. PAMELA PEPPER
                                            Chief United States District Judge

                                            GINA M. COLLETTI
                                            Clerk of Court

                                            s/ Cary Biskupic
                                            (by) Deputy Clerk



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